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AO 245B (Rev 12 /03) Judgment in a C ri minal Case
          Sheet 1




                                       United States District Court
                                                     SOUTHERN DISTRICT OF GEORGIA
                                                         STATESBORO DIVISION

          UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                      V.

                Willie Claude Lanie r                                       Case Number :             CR606-00026-03 3

                                                                            USM Number :              12986-02 1

                                                                            Shawn Kachmar     rn C=
                                                                            Defendant's Attorney -
                                                                                                                           rn
THE DEFENDANT :
[X]  pleaded guilty to a lesser included offense of Count 1 .
[ ]       pleaded nolo contendere to Count(s) _ which was accepted
          by the court .
[]        was found guilty on Count(s)_ after a plea of not guilty .

The defendant has been convicted of the following offense :


         Title & Section Nature of Offens e                                                                 Offense Ended Count

         21 U .S . C . § 846 Conspiracy to possess with intent to distribute, and to                           July 2006                1
                                 distribute , a quantity of cocaine base ( crack) and a quantity
                                 of cocaine hydrochloride (powder)

        The defendant is sentenced as provided in pages 2 through k of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984 .

[ ] The defendant has been found not guilty on count(s)___ .
[X] Count 11 is dismissed as to this defendant on the motion of the United States .


         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid . If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances .



                                                                                 December 10, 2007




                                                                                 B. Avant Edenfiel d
                                                                                 United States District Judg e
                                                                                 For the Southern District of Georgia
                                                                                 Name and Title of Judg e

                                                                                    /& n/z -aoa7
                                                                                 Date
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       Sheet 2 - Imprisonment

DEFENDANT: Willie Claude Lanier
CASE NUMBER : CR606-00026-033

                                                     IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
         for a total term of. 48 months .

[X] The Court makes the following recommendations to the Bureau of P risons : Designation to the Bureau of
     Prisons facility in Jesup , Georgia , is recommended .


[X] The defendant is remanded to the custody of the United States Marshal .
[ ] The defendant shall surrender to the United States Marshal for this dist rict:

        [ ] at - [ ] a .m . [ ] p .m . on
        [ ] as notified by the United States Marshal .

[ ] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons :

        [ ] before 2 p .m. on
        [ ] as notified by the United States Marshal .
        [ ] as notified by the Probation or Pretrial Services Office .
                                                       RETURN
        I have executed this judgment as follows :




        Defendant delivered on t o
at , with a certified copy of this judgment .




                                                                                     United States Marshal


                                                                          By
                                                                                Deputy United States Marshal
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       Sheet 3 - Supervised Release


DEFENDANT : Willie Claude Lanier
CASE NUMBER: CR606-00026-033
                                                            SUPERVISED RELEAS E
Upon release from imprisonment, the defendan t shall be on supervised release for a term of 3 Years .


          The defend an t must report to the probation office in the district to which the defend ant is released within 72 hours of release fr om the custody
of the Bureau of Prisons .

The defendant shall not commit another federal , state, or local crime .

The defendan t shall not unlawfully possess a controlled substance . The defend ant shall re fr ain from any unlawful use of a controlled subst an ce . The
defendant shall submit to one dru g test within 15 days of release from imprisonment and at least two periodic drug tests thereafter , as determined by the
Court .

          The above d ru g testing condition is suspended , based on the court 's determination that the defend ant poses a low risk of future substance abuse .
          (Check , if applicable . )

[X] The defend ant shall not possess a firearm, destructive device, or any other dangerous weapon . ( Check , if applicable.)

[X] The defend ant shall cooperate in the collection of DNA as directed by the probation officer . (Check, if applicable . )

          The defend ant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student, as
          directed by the probation officer . (Check, if applicable .)

          The defendant shall participate in an approved program for domestic violence. (Check, if applicable . )

         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accord an ce with the Schedule of
Payments sheet of this judgment .

           The defendant must comply with the st andard conditions that have been adopted by this cou rt as well as with any additional conditions on the
att ached page .

                                              STANDARD CONDITIONS OF SUPERVISION

I) the defendant shall not leave the judicial district without the permission of the court or probation officer ;
2) the defendant shall report to the probation officer and shall submit a tru thful and complete wri tten report within the fi rst five days of each month ;

3) the defend ant shall an swer truthfully all inquiries by the probation officer and follow the instructions of the probation officer ;

4) the defendant shall support his or her dependents an d meet other family responsibilities ;

5) the defend an t shall work regularly at a lawful occupation unless excused by the probation officer for schooling , training, or other acceptable
       reasons;

6) the defendan t shall notify the probation officer at least ten days prior to an y change in residence or employment ;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase , possess, use, distribute , or administer an y controlled subst an ce
     or any paraphe rnalia related to any controlled substances, except as prescribed by a physician ;

8) the defend ant shall not frequent places where controlled substances are illegally sold, used , distributed , or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not as sociate with any person convicted of a felony,
         unless granted permission to do so by the probation officer-,

10) the defend an t shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of an y
       contraband obse rved in plain view of the probation officer;

11) the defend ant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer ;

12) the defend an t shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
       of the cou rt ;

13)       as directed by the probation officer, the defend ant shall notify third parties of risks that may be occasioned by the defendant's criminal record
          or personal history or characteristics and shall permit the probation officer to make such notification an d to con firm the defend ant 's compli an ce
          with such notification requirement; and

14) Any possession , use, or attempted use of an y device to impede or evade drug testing shall be a violation of supervised release .
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        Sheet 3C - Supervised Releas e


DEFENDANT : Willie Claude Lanier
CASE NUMBER : CR606-00026-033


                                         SPECIAL CONDITIONS OF SUPERVISIO N

1 . The defendant shall participate in a program of testing for drug and alcohol abuse and, if the Court
        determines it is necessary, the defendant shall participate in a program of treatment for drug and alcohol
        abuse.

2. The defendant shall submit his person, residence, office, or vehicle to a search conducted by the United
       States Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion
       of contraband or evidence of a violation of a condition of release ; failure to submit to a search may be
       grounds for revocation . The defendant shall warn any other residents that the premises may be subject to
       searches pursuant to this condition .




                                                    ACKNOWLEDGMEN T
Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision .

These conditions have been read to me . I fully understand the conditions and have been provided a copy of them .



   (Signed)
                  Defendant                                Date




                  U . S . Probation Officer/Designated Witness Date
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         Set 5 - Criminal Monetary Penalties


DEFENDANT : Willie Claude Lanier
CASE NUMBER: CR606-00026-03 3
                                                 CRIMINAL MONETARY PENALTIE S

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6 .

                                                              Assessment Fine Restitutio n

  Totals :             $100                                          N/A                                 N/ A

           The determination of restitution is deferred until An Amended Judgment in a Criminal Case (AO 245C) will be entered
           after such a determination.

II         The defendant must make restitution (including community restitution) to the following payees in the amounts listed below .

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
         otherwise in the priority order or percentage payment column below . However, pursuant to 18 U .S .C . § 3664(i), all nonfederal
         victims must be paid before the United States is paid.


             Name of Payee                            Total Loss *         Restitution Ordered                 Priori or Percenta e



                 Totals :


          Restitution amount ordered pursuant to plea agreement               $

          The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
          the fifteenth day after the date of judgment, pursuant to 18 U .S .C . § 3612(f) . All of the payment options on Sheet 6 maybe subject
          to penalties for delinquency and default pursuant to 18 U .S .C . § 3612(g) .
II        The court determined that the defendant does not have the ability to pay interest and it is ordered that :

                     The interest requirement is waived for the [ ] fine [ ] restitution .
                     The interest requirement for the [ ] fine [ ] restitution is modified as follows :


* Findings for the total amount of losses are required under Chapters 109A, 110, 11OA and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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        ,Sheet 6 - Criminal Monetary Penaltie s


DEFENDANT : Willie Claude Lanier
CASE NUMBER: CR606-00026-033
                                                       SCHEDULE OF PAYMENT S

Having assessed the defendant ' s ability to pay, payment of the total criminal moneta ry penalties shall be due as follows :

A [X] Lump sum payment of $ 100 due immediately, balance du e

                 not later than _; or
                 in accordance with [ ] C, [ ] D, [ ] E, or [ ] F below ; or

B[ ] Payment to begin immediately (maybe combined with [ ] C, [ ] D, or [ ] F below) ; o r

C[ ] Payment in equal - ( e .g ., weekly, monthly , quarterly ) installments of Lover a period of _ (e .g., months or years), to commence
       _ (e .g ., 30 or 60 days) after the date of this judgment ; or

D[ ] Payment in equal _ (e .g., weekly, monthly, quart erly) installments of Lover a period of_ (e .g ., months or years ), to commence
       _(e .g ., 30 or 60 days ) after release from imprisonment to a term of supervision ; o r

E[ ] Payment during the term of supervised release will commence within - (eg ., 30 or 60 days) a fter release from imprisonment.
       the court will set the payment plan based on an assessment of the defendant ' s ability to pay at that time ; or

F[ ] Special instructions regarding the payment of criminal monetary penalties :



Unless the court has expressly ordered otherwise , if this judgment imposes imprisonment , payment of criminal moneta ry penalties is due
during the peri od of imprisonment . All criminal monetary penalties , except those payments made through the Federal Bureau of P risons'
Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal moneta ry penalties imposed .


II        Joint and Several
             Defendant and Co-Defendant Names and Case Numbers (including defendant number ), Total Amount, Joint and Several
             Amount, and corresponding payee , if appropriate :



II        The defendant shall pay the cost of prosecution .

          The defendant shall pay the following cou rt cost(s) :



          The defendant shall forfeit the defendant' s interest in the following property to the United States :



Payments shall be applied in the following order : ( 1) assessment ; ( 2) restitution principal ; ( 3) restitution interest ; (4) fine principal ; ( 5) fine
interest ; (6) community restitution ; (7) penalties, and (8 ) costs, including cost of prosecution and court costs .
